Case 1:23-cv-06414-JGK Document102 Filed 10/25/23. Pagelof1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BANCO SAN JUAN INTERNACIONAL, INC.,

Plaintiff,
23-cv-6414 (JGK)
- against —
ORDER

THE FEDERAL RESERVE BANK OF NEW
YORK, ET AL.,

Defendants,

JOHN G. KOELTL, District Judge:

The parties are directed to appear for a telephone
conference on October 26, 2023 at 1:30 p.m. in connection with
the plaintiff’s letter motion. ECF No. i101.

Dial-in: 888-363-4749, with access code 8140049.

SO ORDERED.

Dated: New York, New York C8
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October 25, 2023 Vv) lel
“o¥ CP

{ - Sohn G. Koeltl
United States District Judge

